                     Case 20-50402-btb         Doc 13      Entered 04/09/20 09:02:29            Page 1 of 3




                                   UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEVADA
                                             RENO DIVISION
IN RE: BA GENERAL INC,                                          CASE NO: 20-50402-btb
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 11
                                                                ECF Docket Reference No. 12




On 4/9/2020, I did cause a copy of the following documents, described below,
Notice of Appointment of Subchapter V Trustee ECF Docket Reference No. 12
Notice of Appointment of Subchapter V Trustee and Verified Statement of Subchapter V Trustee




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 4/9/2020
                                                          /s/ Nicholas Strozza
                                                          Nicholas Strozza 117234
                                                          Assistant U.S. Trustee
                                                          Office of the United States Trustee
                                                          300 Booth Street Room 3009
                                                          Reno, NV 89509
                                                          775 784 5335
                         Case 20-50402-btb             Doc 13       Entered 04/09/20 09:02:29               Page 2 of 3




                                        UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF NEVADA
                                                  RENO DIVISION
 IN RE: BA GENERAL INC,                                                 CASE NO: 20-50402-btb

                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 11
                                                                        ECF Docket Reference No. 12




On 4/9/2020, a copy of the following documents, described below,

Notice of Appointment of Subchapter V Trustee ECF Docket Reference No. 12
Notice of Appointment of Subchapter V Trustee and Verified Statement of Subchapter V Trustee




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 4/9/2020




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Nicholas Strozza
                                                                            Office of the United States Trustee
                                                                            300 Booth Street Room 3009
                                                                            Reno, NV 89509
                    Case
PARTIES DESIGNATED AS     20-50402-btb
                      "EXCLUDE"             DocVIA
                                WERE NOT SERVED  13 USPS
                                                      Entered   04/09/20
                                                         FIRST CLASS MAIL 09:02:29     Page 3 of 3
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

INTERNAL REVENUE SERVICE                 US SECURITIES EXCHANGE COMMISSION        PATRICIA ARNOTT
PO BOX 7346                              ATTN BANKRUPTCY COUNSEL                  4833 RAMCREEK TRAIL
PHILADELPHIA PA 19101-7346               444 SOUTH FLOWER STREET STE 900          RENO NV 89519
                                         LOS ANGELES CA 90071-9591




CASE INFO                                DEBTOR                                   EXCLUDE
1LABEL MATRIX FOR LOCAL NOTICING         BA GENERAL INC                           UNITED STATES BANKRUPTCY COURT
09783                                    11630 SITKA ST                           300 BOOTH STREET
CASE 20-50402-BTB                        RENO NV 89506-7928                       RENO NV 89509-1360
DISTRICT OF NEVADA
RENO
WED APR 8 13-28-03 PDT 2020



ALLIED TRUSTEE SERVICES                  BOBBY GENE SCOGGIN                       US TRUSTEE   RN   11
190 W HUFFAKER LN STE 408                2300 LINCOLN OAK DR                      300 BOOTH STREET STE 3009
RENO NV 89511-4006                       MODESTO CA 95355-9433                    RENO NV 89509-1362




VINCENT RESEARCH AND DEVELOPMENT INC     WASHOE COUNTY TREASURERS OFFICE          PAUL J MALIKOWSKI
2300 LINCOLN OAK DR                      ACCT NO PROPERTY TAXES                   MALIKOWSKI LAW OFFICES LTD
MODESTO CA 95355-9433                    PO BOX 30039                             PO BOX 9030
                                         RENO NV 89520-3039                       RENO NV 89507-9030
